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             EXHIBIT A




               Complaint




             EXHIBIT A
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                                                                                        Electronically Filed
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                                                                                        Steven D. Grierson
                                                                                        CLEWt OF THE COim
                  GERALD I. GILLOCK, ESQ.
             1    Nevada Bar No. 51
             2    MICHAEL H. COGGESHALL, ESQ.
                  Nevada Bar No. 14502
             3    GERALD I. GILLOCK & ASSOCIATES                                   CASE NO: A-20-812285-C
             4
                  428 South 4th Street                                                      Department 32
                  Las Vegas, NV 89101
             5    Telephone: (702) 385-1482
                  Facsimile: (702)385-2604
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             7            mcogeeshall@emk-law.com

             8    Attorneysfor Plaintiff
             9                                              DISTRICT COURT
            10                                          CLARK COUNTY, NEVADA
IS          11
H
;<
                  RICHARD DOAN SNELL,                                 CASENO.:
   3        12                                                        DEPT. NO.:
||S                                        Plaintiff,
            13
                    V.
            14
     9 ,A
                  ALBERTSON’S. LLC, d/b/a ALBERTSON’S               COMPL.4INT AND
            15    a Foreign Limited-Liability Company; DOE     DEMAND FOR JURY TRIAL
                  MAINTENANCE EMPLOYEE, I-V; DOE
S 5         16    EMPLOYEE, I-V; DOE JANITORIAL
iw                EMPLOYEE, I-V; DOE OWNER, I-V; ROE ARBITRATION EXEMPTION CLAIMED:
            17
                  OWNER, I-V; ROE EMPLOYER; and ROE        CLAIMS IN EXCESS OF $50,000.00
            18    COMPANIES, I-X, inclusive,
            19                             Defendants.
            20
            21           COMES NOW, Plaintiff, RICHARD DOAN SNELL, by and through his attorneys of
            22    record, GERALD 1. GILLOCK, ESQ. and MICHAEL H. COGGESH.4LL, ESQ., of the law offices
            23
                  of GERALD I. GILLOCK & ASSOCIATES and for his causes of action against the Defendants,
            24
                  and each of them, alleges as follows:
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                         1.   That Plaintiff, RICHARD DOAN SNELL (hereinafter referred to as '^Plaintiff’),
           1
           2    individually, is, and was at all relevant times hereto, a resident of the State of Nevada, County of
           3    Clark.
           4
                         2.   Upon information and belief, at all times relevant to this action, Defendant
           5
                ALBERTSON’S, LLC, d/b/a ALBERTSON’S (hereinafter “Albertson’s”) is a foreign Limited-
           6
           7
                Liability Company licensed to do business in the State of Nevada and was doing business in the

           8    County of Clark, State of Nevada.
           9             3.   Upon information and belief, that at all times relevant to this action, Defendants
          10
                DOE OWNER, ROE OWNER, ROE EMPLOYER, and ROE COMPANY is a resident of Clark
          11
      e
                County Nevada or an entity licensed to do business in the State of Nevada and was doing business
          12
wM^
     1®   13    in the County of Clark, State of Nevada.
 * 5
                         4.   Upon information and belief DOE EMPLOYEE, DOE MAINTENANCE
^ 5

«il             EMPLOYEE, and DOE JANITORIAL EMPLOYEE was at all times relevant to this action a
          16
iu              resident of Clark County, Nevada, tuid was acting within the course and scope of their employment
O         17
                for Defendant ALBERTSON’S and/or DOE OWNER and/or ROE OWNER and/or ROE
          18
          19    EMPLOYER and/or ROE COMPANY.
          20             S.   Upon information and belief ALBERTSON’S and/or DOE OWNER and/or ROE
          21
                OWNER is the owner of the property located at 1940 Village Center Circle, Las Vegas, NV 89134
          22
                and is a resident of Clark County, Nevada or an entity licensed to do business in the State of
          23
          24
                Nevada. ALBERTSON’S operated the property located at 1940 Village Center Circle, Las Vegas,

          25    NV 89134.
          26    ///
          27
                ///
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                          6.      Upon information and belief ROE EMPLOYER employs Defendants, and each of
              1
              2    them, is a Nevada Corporation and/or a foreign corporation licensed to do business in Nevada and
              3    was directing the actions of DOE MAINTENANCE EMPLOYEE and/or DOE EMPLOYEE and/or
              4
                    DOE JANITORIAL EMPLOYEE at the time of the incident described herein.
              5
                           7.     That the true names and capacities, whether individual, corporate, associate, or
              6
              7    otherwise of Defendants DOE MAINTENANCE EMPLOYEE, I-V; DOE EMPLOYEE. I-V; DOE

              8    JANITORIAL EMPLOYEE, I-V; DOE OWNER. I-V; ROE OWNER, I-V; ROE EMPLOYER;
              9    and ROE COMPANIES, I-X, inclusive, are unknown to Plaintiff who therefore sues those
             10
                   Defendants by such fictitious names. Plaintiff is informed and believes and thereon alleges that
ISH          11
2                  each of the Defendants designated herein as DOE and ROE are responsible in some manner for the
             "2
                   events and happenings referred to and caused damages proximately to Plaintiff as herein alleged,

                   and that Plaintiff will ask leave of this Court to amend this Complaint to insert the true names and
0^1          15
^ 00 *5’
      r* ^         capacities of DOES and ROES, when the same have been ascertained, and to join such
3''J         16
                   Defendant(s) in this action.
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             17
                          8.      At all relevant times. Defendants, and each of them, v^ere the agents, ostensible
             18
             19    agents, servants, employees, employers, partners, co-owners and/or Joint venturers of each other
             20    and of their co-defendants, and were acting within the color, purpose and scope of their
             21
                   employment, ^ency, ownership and/or joint ventures and by reason of such relationships the
             22
                   Defendants, and each of them, are vicariously and jointly and severally responsible and liable for
             23
             24    the acts and/or omissions of their co-Defendants.

             25    ///

             26    ///
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                   ///
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           1                                                 1.
                                                    GENERAL ALLEGATIONS
           2
                        9.     On or about November-23, 2019, PlaintifT was an 86-year-otd man with no
           3
           4    significant prior medical history. Plaintiff was fully independent.

           5            10.    On or about Ncvember 23, 2019, shortly after entering Defendant Albertson’s
           6    premises. Plaintiff slipped on a puddle near a refrigeration unit. The puddle and refrigeration unit
           7
                were near the entrance of the facility.
           8
                        11.    After slipping in the puddle, Plaintiff was rushed to Mountainview Hospital’s
           9
          10    Emergency Room via ambulance.

I         n             12.    While at the hospital, Mr. Snell was diagnosed with left intertrochanteric femur
I-I >2          fracture and was admitted to Mountainview’s neuro ICU for monitoring and pain management.
^ w <3    13
                Plaintiff underwent hemiarthroplasty to repair his fractured hip the next day.
    ii »  15
                        13.    After surgery, Plaintiff was discharged to Mountainview’s physical therapy facility.
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          16    Plaintiff was evaluated by physical therapists, who recoimnended admission to an inpatient acute
t ^
s         17    rehabilitation because Plaintiffs level of function was signiftcantly lower after his slip injury.
          18
                        14.    Plaintiff remained at Mountainview’s acute inpatient rehab facility for 16 days.
          19
                While there, he was unable to make a full recovery.
          20
                        15.    As a result of his hip fracture, Plaintiff is no longer living independently and he
          21
          22    never again will.
          23            16.    Asa result of his fall, Plaintiff incurred medical bills in excess of $200,000.00.
          24
                        17.    That upon information and belief, Defendants, ALBERTSON’S and/or DOE
          25
                MAINTENANCE EMPLOYEE and/or DOE EMPLOYEE aid/or DOE JANITORIAL
          26
          27    EMPLOYEE and/or DOE 0\\T^ER and/or ROE OWNER mid/or ROE EMPLOYER and/or ROE

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               COMPANY and each of them, were the owners, operators or lessees of the property located at 1940
          1
          2    Village Center Circle, Las Vegas, NV 89134 (the “Premises”) and occupied, operated, maintained
          3    or controlled the Premises where it/they actively operated a hotel and casino.
          4
                       18.     That on or about November 23, 2019. the Defendants, and each of them, owed
          5
               Plaintiff a duty to keep the premises reasonably safe for its intended use as a store.
          6
          7            19.     Defendants' conduct was negligent for failing to review, supervise or implement

          8    other quality control assurance programs, failing to replace the flooring or provide a non-slip
          9    surface and/or slip resistant surface and/or mats in this area and likewise was negligent in hiring,
         10
               training and/or supervising the staff whe failed to appropriately maintain the area at or near the
         11
§              refrigeration unit where Plaintiff was injured and provide a safe environment in order to avoid
         12
I              causing injury to Plaintiff.
^« s
                       20.     That Defendants, and each of them, so carelessly and negligently created, owned,
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-4 a ^
         15    controlled, inspected, repaired, serviced and maintained the area at or near the refrigeration unit
a    «   lA
t -            where Plaintiff slipped and/or slid and fell in an improper, negligent and dangerous condition so as
         17
               to cause Plaintiff to fall and sustain injuries and failed to adequately warn Plaintiff, and as a
         18
         19    proximate result thereof. Plaintiff was seriously injured.
         20                                        FIRST CAUSE OF ACTION
         21                                             NEGLIGENCE

         22           21.     Plaintiff repeats and realleges each of the allegations set forth in paragraphs 1
         23    through 19, inclusive, and incorporate the same as though fully set forth herein.
         24
                      22.     That Defendants, and each of them, owed to Plaintiff a duty of reasonable care in
         25
               creating, controlling, inspecting, servicing, repairing and mmntaining the subject area where
         26
         27
               Plaintiff slipped and/or slid and fell in a safe condition and in failing to warn the general public,

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             1
                  including Plaintiff, of a dangerous condition that existed.

             2            23.     That Defendants, and each of them, breached the duty they owed to Plaintiff by so
             3    carelessly and negligently creating, installing non-slip and/or slip resistant flooring, owning,
             4
                  controlling, inspecting, repairing, servicing and maintaining the subject area at or near the
             5
                  refrigeration unit where Plaintiff slipped and/or slid and fell in such a condition so as to be unsafe
             6
             7    for its foreseeable users and failing to adequately warn of a the dangerous condition that existed,

             8    which breach proximately caused Plaintiff to become seriously injured.
             9            24.     Upon information and belief, the incident as described herein was foreseeable to
            10
                  Defendants, and each of them, as Defendants were on notice of a prior incident or incidents
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            n
                  involving slips and/or falls at or near refrigeration units and in areas where liquid or debris was on
            12
|ggs
            13    the floor and this same and/or similar flooring was used and/or where Plaintiff slipped and/or slid
<8
     5z     14    and fell and Defendants knew that the condition of the flooring was such that it was not slip
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     ei >         resistant and could cause individuals to fall if liquids or spills were to occur.
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iw                       25.      Such actions and/or omissions cn the part of the Defendants, and each of them, by
            17
            18    and through their employees, were careless and negligent and were the proximate cause of

            19    Plaintiffs injuries and damages.
            20           26.      That as a direct and proximate result of the negligence and carelessness of
            21
                  Defendants, and each of them, Plaintiff incurred expenses for medical care and treatment and will
            22
                  continue to incur such expenses in the future in an amount in excess of Fifteen Thousand Dollars
            23
            24    ($15,000.00).

            25           27.      That as a further result of Defendants' negligent acts and/or omissions, Plaintiff has
            26    suffered general and special damages including, but not limited to, emotional distress, pain and
            27
                  suffering, and medical damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00).
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                         28.    As a direct and proximate result of the conduct of Defendants, Plaintiff has suffered,
            1
            2    and will continue to suffer in the future, special damages in an amount in excess of Fifteen              h-



            3    Thousand Dollars ($15,000.00).
            4
                         29.    As a direct and proximate result of the conduct of Defendants, Plaintiff has suffered,
            5
                 and will continue to suffer in the future, general damages in an amount in excess of Fifteen
            6
            7    Thousand Dollars ($15,000.00).

            8           30.     As a further result of Defendants* conduct. Plaintiff has had to retain the services of
            9    attorneys in this matter, and therefore seek, reimbursement of attorneys’ fees and costs.
           10
                                            SECOND CAUSE OF ACTION
           11                       CORPORATE NEGLIGENCE/VICARIOUS LIABILITY
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     e     12
»^^                     31.     Plaintiff incorporates paragraphs 1 through 29 as though fully set forth herein.
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                        32.     ALBERTSON’S and/or DOE and ROE Defendants, had and have a non-delegable
           14
    o i
,7 (A Bl         duty and are directly and vicariously liable for damages resulting from their employees,
           15

3 5        16    independent contractors, contracting companies, subcontractors, agents and/or servants’ negligent
2
           17    actions against Plaintiff occurring during the scope of their agency or employment for the failure to
           18
                 install non-slip flooring and/or slip resistant flooring, failing to warn of the dangerous condition,
           19
                 failing to inspect and/or maintain the Premises from any and all hazardous conditions.
           20
           21           33.     Defendants, and each of them, by and through its employees, agents, ostensible

           22    agents and/or servants breached their duty of care by failing to put into place safety protocols when
           23    they knew or should have known that Plaintiff was at risk for injury.
           24
                        34.     Defendants, and each of them, are liable for their employees, contracting companies.
           25
                 agents and/or servants breach of duty to the Plaintiff.
           26
                 ///                                                                                                      i^-
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                                                                                                                          ;



                          35.      That Defendants' direct negligent acts and/or omissions resulted in Plaintiffs
             1
             2     injuries and subsequent surgeries.
             3            36.      Defendants knew the area at or near the refrigeration unit where Plaintiff slipped
             4
                   and/or slid and fell was hazardous and knew the area was adjacent to food and beverage vendors
             5
                   and that people would carry liquids in this area that were reasonably known to spilt and likely to
             6
             7     having liquid and/or food spilled on the floor and knew of the danger of allowing liquid and/or food

             8     to remain on the floor.
             9            37.      That as a further direct and proximate result of Defendants' negligent acts and/or
            10
                   omissions, Plaintiff endured pain and suffering.                                                       «
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2                         38.      As a further result of Defendant's negligence, Plaintiff has incurred great pain and
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            13     suffering, mental anguish, emotional distress, and inconvenience in an amount in excess of Fifteen

                   Thousand Dollars ($15,000.00).
o2|         15            39.      That Plaintiffhas incurred expenses for medical care and treatment and will continue
^ S3 ^
S      j    16
su                 to incur such expenses in the future in an amount in excess of Fifteen Thousand Dollars
            17
                   ($15,000.00).
            18
            19            40.      That said defects were the proximate cause of Plaintiffs injuries in an amount in
            20     excess of Fifteen Thousand Dollars ($15,000.00).
            21
                          41.      That as a further direct and proximate result of Defendant's negligent acts and/or     4

            22                                                                                                            *
                   omissions. Plaintiff has had to retain the services of an attorney to prosecute this action and is
            23
            24
                   entitled to reasonable attorney’s fees and costs incurred therein.

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             1           WHEREFORE, Plaintiff prays for relief from the Defendants, and each of them, as follows:

             2           1.     For general damages in excess of Fifteen Tnousand Dollars ($15,000.00);
             3           2.     For special damages in excess of Fifteen Thousand Dollars ($15,000.00);
             4
                         3.     For Plaintiffs costs and disbursements of this suit;
             5
                         4.     For reasonable attorneys' fees incurred herein, and
             6
             7           5.     For such and further relief as thJs Court may deem just and equitable in the premises.

             8           DATED this 13 th day of March, 2020.
             9                                                GERALD I. GILLOCK & ASSOCIATES
            10
            n                                                 Bv:
        e                                                           GERALD I. GILLOCK, ES(K
            12
                                                                    Nevada Bar No. 51
                                                                    MICHAEL H. COGGESHALL, ESQ.
                                                                    Nevada Bar No. 14502
            14                                                      428 Soutli 4th Street
                                                                    Las Vegas, NV 89101
  oe <      15
■fa 9                                                             Attorneysfor Plaintiff
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